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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

REBECCA GROVE,. bldividually and as *

Personal Representative of the

Estate of ROYCE A. GROVE *

3878 Barachel Drive

York, Pennsylvania 17402 *
Plaintiff *

v. *

KRISTIAN ULLOA, M.D. *

520 Upper Chesapeake Drive

Suite 306 *

Bel Air, Maryland 21014

and
* Civil Action NO.
UNIVERSITY OF MARYLAND MEDICAL
SYSTEMS CORPORATION *
22 South Greene Street
Baltimore, Maryland 21201 *
SERVE ON: Resident Agent *
Megan M. Arthur
250 W. Pratt Street, Suite 880 *
Baltimore, Maryland 21201
=I<
and
_ >I¢
UNIVERSITY OF MARYLAND SURGICAL
ASSOCIATES, P.A. *
22 South Greene Street
Baltimore, Maryland 21201 *
SERVE ON: Resident Agent "°
Rc)nald A. Brown
Deparf:ment Of Surgery *
22 South Greene Street
Room N4E4O *

Baltimore, Mary1and 21201

and

 

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BALTIMORE WASHINGTON MEDICAL *
CENTER, INC. -
301 Hospital Drive *

Glen Burnie, l\/laryland 2106'1

SERVE ON: Resident Agent

Megan M. Arthur *
250 W. Pratt Street
Suite 880 *

Baltimore, Mar'yland 21201

Defendants

COMPLAINT AND ELECTION FOR JURY TRIAL

Plaintiff, Rebecca Grove, lndividually and as Personal Representative of the Estate of
Royce A. Grove, by their attorneys, Paul D. Bekrnan, and Salsbury, Clernents, Bekman, Marder
& Adl<ins, L.L.C., sues the Defendants, Kristian Ulloa, M.D., University of Maryland Medical
Systerns Corporation and University of Maryland Surgical Associates, P.A., and Baltirnore
Washington Medical Center, Inc., and states as folloWs:

CoUNTl

l. _ The venue for this claim is proper in United States District Court for the Distr'ict
of Maryland as the amount in controversy exceeds $75,000 and the Plaintit`f and Defendants have
diversity of citizenship

2. ‘ A Statement of Clairn Was filed With the Health Care Alternative Dispute
Resolution Ofiice. A Certiiicate of Qualiiied Expert and Report Were filed and Plaintiff elected
to Waive arbitration

3. That at all times hereinafter set forth, the Defendant Kristian Ulloa, M.D. held

himself out to the Decedent, Royce A. Grove, and to the general public as an experienced

 

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competent and able physician possessing or providing that degree of skill and knowledge which
is ordinarily possessed by those who devote special study_and attention to the practice of
medicine and of surgery, and as such owed a duty to the Decedent to render that degree of care
and treatment to him which is ordinarily rendered by those who devote special study and
attention to the practice of medicine

4. That at all times hereinafter set forth, Marshall E. Benj amin, M.D. (“Dr.
Benjamin”) held himself out to the Decedent, Royce A. Grove, and to the general public as an
experienced competent and able physician possessing or providing that degree of skill and
knowledge which is ordinarily possessed by those who devote special study and attention to the
practice of medicine and of surgery, and as such owed a duty to the Decedent to render that
degree of care and treatment to him which is ordinarily rendered by those who devote special
study and attention to the practice of medicine.

5. That at all times hereinafter set forth, the Defendant, Baltimore Washington
Medical Center, lnc., was and is a medical facility offering medical and other related services to
the general public and in such capacity as a hospital, its agents, servants and/or employees,
medical staff and consultants held themselves out as practicing ordinary standards ofmedical,
hospital and nursing care and, as such, owed a duty to the Decedent to render and provide health
care within the ordinary standards of medical, hospital and nursing care, and to exercise
reasonable skill and care in the selection of its personnel, to provide competent physicians,
hospitalists, radiologists, technicians, nurses and other medical personnel, possessing that degree
of skill and knowledge which is ordinarily possessed by those who devote special study and

attention to the practice of medicine, and to supervise and provide its patients With diagnostic and

 

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medical services and treatment commensurate with the condition from Which the patient suffers
and for which patient entered said hospital

6. That at all times relevant hereto, the Defendant Ulloa was Fellow at the University
of Maryland Hospital and at Baltimore Washington Medical Center, and as such was acting as an
agent, servant, apparent agent or employee of the Defendants, University of l\/iaryland l\/ledical
Systems Corporation and Baltimore Washington l\/ledical Center, lnc.

7. At all times described herein, Dr. Benjamin was acting as an employee, agent, or
apparent agent of the Defendant, University of Maryland Surgical Associates, P.A.

8. In 2003, the Decedent, Royce A. Grove, who had a history of coronary artery
disease With by pass surgery (in 1992), hypertension and hyperlipidemia, was found on by a
screening examination to have an asymptomatic infrarenal abdominal aortic aneurysm.
Subsequent CT imaging studies showed the aneurysm to be 3.7 cm. in its greatest dimension

9. After the Decedent was diagnosed with the abdominal aortic aneurysm, he was
followed for many years by Clifford W. Lynd, M.D. for any aneurysmal changes I-lis abdominal
aortic aneurysm remained stable and unchanged in size until testing on August 13, 2008, showed
that it had enlarged and had a localized area of dissection within the aortic aneurysm.

10. Due to the aneurysmal changes, the Decedent was referred to the l\/laryland
Vascular Center at Baltirnore Washington l\/ledical Center, Where on September 3, 2008, he was
seen by Dr. Benj amin and by William F. Flinn, M.D. After an examination by Dr. Flinn and
testing by Dr. Benjamin, Dr. Flinn found the dissections to be fairly benign. Doctor Flinn
recommended standard treatment for an infrarenal abdominal aortic aneurysm, which he stated

was repeat CT scans beginning in three months and elective treatment if the aneurysm grew to

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over 5 cm.

11. Pursuant to the recommended standard treatment, the Decedent continued to
undergo periodic testing at the Maryland Vascular Center, until testing in December of 2010,
showed aneurysmal enlargement Doctor F linn first recommended surgery, and then over the
next six months, the providers at the Maryland Vascular Center ordered further testing and
perfomied further examinations of the Decedent before scheduling him for endovascular repair of
his infrarenal abdominal aortic aneurysm.

12. On June 8, 2011, the Decedent reported to the Baltimore Washington Medical
Center for blood work at or about 6:50 a.m_., preliminary to his endovascular surgery. Laboratory
studies showed his pre-operative hematocrit level to be 41.3, slightly below the laboratory
reference range of 42.0 to 52.0.

13. Shortly after 8 a.m. on June 8, 2011, the Decedent was taken to the operating
suite, where he underwent the scheduled endovascular repair of his infrarenal abdominal aortic
aneurysm. The surgery was performed by Dr. Benjamin who was assisted by the Defendant
Ulloa.

14. During the surgery, the Decedent’s left distal common artery was injured causing
an estimated blood loss of 500 cc and a drop in blood pressure to 80/50, and requiring the
Decedent to receive an intraoperative transfusion of two units ofblood. Attempts were made at
the surgery by Dr. Benj amin and by the Defendant Ulloa to make repairs by extending the stent
graft into the external iliac artery.

l5. Post~operatively, Dr. Ulloa ordered laboratory blood studies at 12:15 p.m., which

showed that the Decedent’s hematocrit level had fallen to 32.0, a drop of 22.5%, but neither Dr.

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Ulloa or Dr. Benj amin ordered a CT to rule out bleeding.

16. Post-operatively in the PACU, the Decedent complained of severe back pain ( a
symptom of internal bleeding) to Dr. Ulloa, who thereafter placed orders for Dilaud`id, Percocet,
and Morphine.

17. At 4 p.m., the Decedent was seen in the PACU by Dr. Benj amin to address the
Decedent’s complaints of severe back pain.

18. At 6 :05 p.m., on June 8, 2008, while the Decedent was still in the PACU, new
laboratory blood studies showed that his hematocrit level continued to fall to 30.4. Although Dr.
Ulloa was notified of the Decedent’s falling hematocrit level, he did not come in to see the
patient nor did he issue any orders for additional testing

19. At or about 9:41 p.m., the Decedent was transferred from the PACU to the second
floor (bed 242), a section of the hospital where the nursing staff was not trained to provide post
operative care to patients having undergone AAA repairs. At and after the time of transfer, the
Decedent was still complaining of severe back pain for which he was receiving IV morphine

20. At 7:45 a.m. on June 9, 2011, the Decedent was seen in his room by the
Defendant Ulloa who reportedly found no evidence of bleeding despite knowing ofthe
Decedent’s falling hematocrit levels and complaints of back pain. Instead of ordering additional
blood studies or a CT, Dr. Ulloa simply ordered that Decedent be discharged later in the day on
pain medications.

21. At 2:05 p.m. on June 9, 2011, pursuant to an order by the Defendant Ulloa,
Decedent was injected with 40 mg of the blood thinner Lovenox,, the administration of which is

contraindicated in patients who are bleeding intemally or suspected of bleeding internallyl

 

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22. The Decedent remained at the Hospital until his actual discharge shortly before 3
p.m. Prior to being-discharged, he continued to complain of back and groin pain, and his
condition worsened. As set out by Britney Gilliland, RN in her nursing progress note at
discharge,
patient’s vitals upon discharge are 105/59 with heartrate ranging in the 905 -
100s sinus tach. Patient’s pulse ox on room air is 91%. Dr. Chris Ulloa,
vascular team member, was called and made aware of vitals, patient has slight
expiratory wheeze, and that he did not have an H/H drawn this morning No
orders given to check H&H or any other bloodw`ork. Dr. Ulloa ok with patient
being discharged home today. Patient has complaints of pain at the post-op,
bilateral groin sites, and was given the ordered percocet prior to discharge
23. Once the Decedent arrived home, he continued to suffer from back pain. When
his wife, the Plaintiff Rebecca Grove, awoke around 4:30 a.m. on June 10, 2011, she found her
husband sitting in his office. l-le looked at her and said, “Honey you better call 911.” Then he
collapsed 911 was called and the Decedent was transported by ambulance to the emergency
department at Yorl< Hospital, where he arrived in asystolic cardiac arrest. The Decedent was
thereafter declared dead at 5:37 a.m.
24. The autopsy that was subsequently performed showed evidence of continued post
surgical hemorrhaging.
25. The Defendant, Kristian Ulloa, l\/I.D., was negligent in that he:
a. failed to properly evaluate the Decedent’s post-operative condition;
b. failed to properly diagnose and treat the Decedent’s post~operative
condition in a timely fashion;

c. failed to recognize and appreciate the seriousness of the Decedent’s post~

operative condition;

 

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d.

g.

failed to perform appropriate and timely testing, examinations and
treatment;

ordered the administration of Lovenox to the Decedent whom he (Dr.
Ulloa) knew or should have known or suspected was bleeding internally;
prematurely discharged the Decedent from the hospital;

and was otherwise negligent, careless and reckless

26. The Defendant, University of Maryland Surgical Associates, P.A., by and through

its agent and employee Marshall E. Benjamin, l\/I.D., was negligent in that it:

21.

b.

6.

failed to properly evaluate the Decedent’s post-operative condition;
failed to properly diagnose and treat the Decedent’s post~operative
condition in a timely fashion;

failed to recognize and appreciate the seriousness of the Decedent’s post-
operative condition;

failed to perform appropriate and timely testing, examinations and _
treatment;

and was otherwise negligent, careless and reckless.

27. As a direct result of the negligence of the Defendants, the Decedent was caused to

suffer painful and permanent injuries to his body; was caused to sustain severe mental anguish

and emotional pain and suffering, was caused to incur hospital, medical expenses and was caused

to incur other financial losses and damage

28. All of the losses, damages and injuries sustained by the Decedent were caused by

the negligence of the Defendants without any negligence on part of the Decedent contributing

 

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thereto.

WHEREFORE, Rebecca Grove, as Personal Representative of the Estate of Royce A.
Grove, claims damages against the Defendants, Kristian Ulloa, M.D., University of Maryland
l\/ledical Systems Corporation and University of Maryland Surgical Associates, P.A., and
Baltimore Washington Medical Center, lnc._, in an amount to be determined by a jury.

COUNT lI
(Wrongful Deaflz)

29. The Plaintiff, Rebecca Grove, individually, incorporates paragraphs 1 through 28
of the Statement of Clairn as if they were fully set forth at length herein.

30. The Plaintiff, Rebecca Grove, and the Decedent, Royce A. Grove, were married
on 11/19/88. They enjoyed a close and loving relationship throughout their married life.

31. As a result of the negligence of these Defendants and the wrongful death of Royce
A. Grove, the Plaintiff, Rebecca Grove, as the surviving spouse of Royce A. Grove, has suffered
severe mental anguish and emotional pain, pecuniary loss, and has lost and been deprived of the
society, companionship, comfort, care, attention, advice, counsel, services and support which the
Decedent could have and would have afforded and rendered had he continued to live.

32. By reasons of the negligence of the Defendants which culminated in the death of
the Decedent, a cause of action has accrued in accordance with the Annotated rCode of Maryland
Courts and J udicial Proceedings, §3~901 e_t s;eq to the Plaintiff, Rebecca Grove, the surviving
spouse of the Decedent, for the compensation to her for all the damages, injuries and losses, past,
present and future which she has sustained and will in future sustain, all of which are

approximately caused by the negligence of the Defendants without any negligence on part of the

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Plaintiff or her Decedent thereunto contributing

WHEREFORE, the Plaintiff, Rebecca Grove, claims damages against the Defendants,
Defendants, Kristian Ulloa, l\/I.D., University of Maryland Medical Systems Corporation and
University of l\/laryland Surgical Associates, P.A., and Baltimore Washington l\/ledical Center,

lnc., jointly and severely in an amount to be determined by a jury.

/_>WM

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